       Case 4:21-cv-07093-SBA Document 1 Filed 09/14/21 Page 1 of 7




1      CENTER FOR DISABILITY ACCESS
       Amanda Seabock, Esq., SBN 289900
2      Prathima Price, Esq., SBN 321378
       Dennis Price, Esq., SBN 279082
3      Mail: 8033 Linda Vista Road, Suite 200
       San Diego, CA 92111
4      (858) 375-7385; (888) 422-5191 fax
       amandas@potterhandy.com
5
       Attorneys for Plaintiff
6
7
8
                           UNITED STATES DISTRICT COURT
9
                          NORTHERN DISTRICT OF CALIFORNIA
10
11     Brian Whitaker                            Case No.
12               Plaintiff,
                                                 Complaint For Damages And
13       v.                                      Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14     Thai Eatery LLC, a California             Act; Unruh Civil Rights Act
       Limited Liability Company
15
16
                 Defendants.
17
18
           Plaintiff Brian Whitaker complains of Thai Eatery LLC, a California
19
     Limited Liability Company; and alleges as follows:
20
21
       PARTIES:
22
       1. Plaintiff is a California resident with physical disabilities. He is
23
     substantially limited in his ability to walk. He suffers from a C-4 spinal cord
24
     injury. He is a quadriplegic. He uses a wheelchair for mobility.
25
       2. Defendant Thai Eatery LLC owned Ginza Sushi & Sake located at or
26
     about 1793 Haight St., San Francisco, California, in September 2021.
27
       3. Defendant Thai Eatery LLC owns Ginza Sushi & Sake (“Restaurant”)
28


                                            1

     Complaint
       Case 4:21-cv-07093-SBA Document 1 Filed 09/14/21 Page 2 of 7




1    located at or about 1793 Haight St., San Francisco, California, currently.
2      4. Plaintiff does not know the true names of Defendants, their business
3    capacities, their ownership connection to the property and business, or their
4    relative responsibilities in causing the access violations herein complained of,
5    and alleges a joint venture and common enterprise by all such Defendants.
6    Plaintiff is informed and believes that each of the Defendants herein is
7    responsible in some capacity for the events herein alleged, or is a necessary
8    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
9    the true names, capacities, connections, and responsibilities of the Defendants
10   are ascertained.
11
12     JURISDICTION & VENUE:
13     5. The Court has subject matter jurisdiction over the action pursuant to 28
14   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
15   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
16     6. Pursuant to supplemental jurisdiction, an attendant and related cause
17   of action, arising from the same nucleus of operative facts and arising out of
18   the same transactions, is also brought under California’s Unruh Civil Rights
19   Act, which act expressly incorporates the Americans with Disabilities Act.
20     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
21   founded on the fact that the real property which is the subject of this action is
22   located in this district and that Plaintiff's cause of action arose in this district.
23
24     FACTUAL ALLEGATIONS:
25     8. Plaintiff went to the Restaurant in September 2021 with the intention
26   to avail himself of its goods or services motivated in part to determine if the
27   defendants comply with the disability access laws.
28     9. The Restaurant is a facility open to the public, a place of public


                                               2

     Complaint
       Case 4:21-cv-07093-SBA Document 1 Filed 09/14/21 Page 3 of 7




1    accommodation, and a business establishment.
2      10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
3    to provide wheelchair accessible dining surfaces in conformance with the ADA
4    Standards as it relates to wheelchair users like the plaintiff.
5      11. The Restaurant provides dining surfaces to its customers but fails to
6    provide wheelchair accessible outside dinning surfaces.
7      12. A problem that plaintiff encountered was that was the lack of sufficient
8    knee or toe clearance under the table for wheelchair users.
9      13. Plaintiff believes that there are other features of dining surfaces that
10   likely fail to comply with the ADA Standards and seeks to have fully compliant
11   dining surfaces for wheelchair users.
12     14. On information and belief, the defendants currently fail to provide
13   wheelchair accessible dining surfaces.
14     15. As a wheelchair user, the plaintiff benefits from and is entitled to use
15   wheelchair accessible facilities. By failing to provide accessible facilities, the
16   defendants denied the plaintiff full and equal access.
17     16. The failure to provide accessible facilities created difficulty and
18   discomfort for the Plaintiff.
19     17. These barriers relate to and impact the plaintiff’s disability. Plaintiff
20   personally encountered these barriers.
21     18. The defendants have failed to maintain in working and useable
22   conditions those features required to provide ready access to persons with
23   disabilities.
24     19. The barriers identified above are easily removed without much
25   difficulty or expense. They are the types of barriers identified by the
26   Department of Justice as presumably readily achievable to remove and, in fact,
27   these barriers are readily achievable to remove. Moreover, there are numerous
28   alternative accommodations that could be made to provide a greater level of


                                              3

     Complaint
       Case 4:21-cv-07093-SBA Document 1 Filed 09/14/21 Page 4 of 7




1    access if complete removal were not achievable.
2      20. Plaintiff will return to the Restaurant to avail himself of its goods or
3    services and to determine compliance with the disability access laws once it is
4    represented to him that the Restaurant and its facilities are accessible. Plaintiff
5    is currently deterred from doing so because of his knowledge of the existing
6    barriers and his uncertainty about the existence of yet other barriers on the
7    site. If the barriers are not removed, the plaintiff will face unlawful and
8    discriminatory barriers again.
9      21. Given the obvious and blatant nature of the barriers and violations
10   alleged herein, the plaintiff alleges, on information and belief, that there are
11   other violations and barriers on the site that relate to his disability. Plaintiff will
12   amend the complaint, to provide proper notice regarding the scope of this
13   lawsuit, once he conducts a site inspection. However, please be on notice that
14   the plaintiff seeks to have all barriers related to his disability remedied. See
15   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
16   encounters one barrier at a site, he can sue to have all barriers that relate to his
17   disability removed regardless of whether he personally encountered them).
18
19   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
20   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
21   Defendants.) (42 U.S.C. section 12101, et seq.)
22     22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
23   again herein, the allegations contained in all prior paragraphs of this
24   complaint.
25     23. Under the ADA, it is an act of discrimination to fail to ensure that the
26   privileges, advantages, accommodations, facilities, goods and services of any
27   place of public accommodation is offered on a full and equal basis by anyone
28   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.


                                               4

     Complaint
       Case 4:21-cv-07093-SBA Document 1 Filed 09/14/21 Page 5 of 7




1    § 12182(a). Discrimination is defined, inter alia, as follows:
2             a. A failure to make reasonable modifications in policies, practices,
3                or procedures, when such modifications are necessary to afford
4                goods,     services,   facilities,   privileges,     advantages,    or
5                accommodations to individuals with disabilities, unless the
6                accommodation would work a fundamental alteration of those
7                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
8             b. A failure to remove architectural barriers where such removal is
9                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
10               defined by reference to the ADA Standards.
11            c. A failure to make alterations in such a manner that, to the
12               maximum extent feasible, the altered portions of the facility are
13               readily accessible to and usable by individuals with disabilities,
14               including individuals who use wheelchairs or to ensure that, to the
15               maximum extent feasible, the path of travel to the altered area and
16               the bathrooms, telephones, and drinking fountains serving the
17               altered area, are readily accessible to and usable by individuals
18               with disabilities. 42 U.S.C. § 12183(a)(2).
19     24. When a business provides dining surfaces, it must provide accessible
20   dining surfaces.
21     25. Here, accessible dining surfaces has not been provided in conformance
22   with the ADA Standards.
23     26. The Safe Harbor provisions of the 2010 Standards are not applicable
24   here because the conditions challenged in this lawsuit do not comply with the
25   1991 Standards.
26     27. A public accommodation must maintain in operable working condition
27   those features of its facilities and equipment that are required to be readily
28   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).


                                            5

     Complaint
        Case 4:21-cv-07093-SBA Document 1 Filed 09/14/21 Page 6 of 7




1       28. Here, the failure to ensure that the accessible facilities were available
2    and ready to be used by the plaintiff is a violation of the law.
3
4    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
5    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
6    Code § 51-53.)
7       29. Plaintiff repleads and incorporates by reference, as if fully set forth
8    again herein, the allegations contained in all prior paragraphs of this
9    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
10   that persons with disabilities are entitled to full and equal accommodations,
11   advantages, facilities, privileges, or services in all business establishment of
12   every kind whatsoever within the jurisdiction of the State of California. Cal.
13   Civ. Code §51(b).
14      30. The Unruh Act provides that a violation of the ADA is a violation of the
15   Unruh Act. Cal. Civ. Code, § 51(f).
16      31. Defendants’ acts and omissions, as herein alleged, have violated the
17   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
18   rights to full and equal use of the accommodations, advantages, facilities,
19   privileges, or services offered.
20      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
21   discomfort or embarrassment for the plaintiff, the defendants are also each
22   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
23   (c).)
24
25           PRAYER:
26           Wherefore, Plaintiff prays that this Court award damages and provide
27   relief as follows:
28


                                              6

     Complaint
       Case 4:21-cv-07093-SBA Document 1 Filed 09/14/21 Page 7 of 7




1        1. For injunctive relief, compelling Defendants to comply with the
2    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
3    plaintiff is not invoking section 55 of the California Civil Code and is not
4    seeking injunctive relief under the Disabled Persons Act at all.
5        2. For equitable nominal damages for violation of the ADA. See
6    Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
7    and any other equitable relief the Court sees fit to grant.
8        3. Damages under the Unruh Civil Rights Act, which provides for actual
9    damages and a statutory minimum of $4,000 for each offense.
10       4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
11   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
12
     Dated: September 13, 2021               CENTER FOR DISABILITY ACCESS
13
14
15                                           By: ______________________
16                                               Amanda Seabock, Esq.
                                                 Attorney for plaintiff
17
18
19
20
21
22
23
24
25
26
27
28


                                             7

     Complaint
